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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 VICTORIA DIVISION

                                  §
IN RE:                            §
                                  §                        CASE NO. 16-60040 (DRJ)
LINN ENERGY, LLC, et al.,         §
                                  §                        CHAPTER 11
DEBTORS.                          §
                                  §
DIANE G. REED, CHAPTER 7          §
TRUSTEE FOR THE BANKRUPTCY        §
ESTATE OF RINCON ISLAND LIMITED   §
LIMITED PARTNERSHIP,              §
                                  §
V.                                §                        ADV. NO. 18-06009
                                  §
BERRY PETROLEUM COMPANY, LLC,     §
CALIFORNIA STATE LANDS            §
COMMISSION, SOCORRO CAPITAL, LLC, §
TORCH OPERATING COMPANY,          §
TORCH ENERGY FINANCE FUND         §
LIMITED PARTNERSHIP-I, AND TORCH §
ENERGY FINANCE COMPANY.           §

                             JOINT PRETRIAL STATEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Diane G. Reed, Chapter 7 Bankruptcy Trustee for Rincon Island Limited

Partnership in Case No. 16-33174 pending in the U.S. Bankruptcy Court, Northern District of

Texas, Dallas Division (the “Plaintiff” or “Trustee”), Plaintiff in the above styled and numbered

proceeding, Defendant (and Cross-Plaintiff) Berry Petroleum Company, LLC (“Berry”), a

reorganized Chapter 11 debtor in bankruptcy in the above styled and numbered jointly

administered, Defendant (and Cross-Defendant) California State Lands Commission (“CSLC”),

a division of the State of California, and Defendant Torch Finance Fund Limited Partnership

f/k/a Torch Energy Finance Fund Limited Partnership I (“TEF”), and file this their Joint Pretrial

Statement and would respectfully state and show as follows:


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       1.      Statement of the Case.         Diane G. Reed, Chapter 7 Bankruptcy Trustee for

Rincon Island Limited Partnership in Case No. 16-33174 pending in the U. S. Bankruptcy Court,

Northern District of Texas, Dallas Division, seeks a declaratory judgment sufficient to allow

release of funds held in escrow by Socorro Capital, LLC (“Socorro”) to her for benefit of

creditors in the Rincon case. Specifically, Trustee seeks judgment that

               A.      California State Lands Commission (“CSLC”), is barred and forever

               discharged pursuant to applicable law, this Court’s Bar Date Order, and the

               express Terms of the Berry Plan and Confirmation Order from asserting any claim

               against or receiving any payment from Berry in respect of the Berry CSLC Claim,

               the CSLC Scheduled Claim, and from any liabilities related to the CSLC RILP

               Claim (capitalized terms defined below).

               B.     Berry Petroleum Company, LLC (“Berry”) has no claims against

               Defendants TEF, Torch Operating Company (“TOC”), or Torch Energy Finance

               Company (“TEFC”) arising from a claim by CSLC against Berry as a result of the

               discharge of the obligations of Berry to CSLC including under the Guaranty

               (capitalized defined below).

               C.     As a result of discharge of Berry’s obligations, the release by Berry of the

               Guaranty, and the Release by CSLC of the Limited Guaranty, no basis exists for

               TOC, TEF, and TEFC to claim any or all of the Escrow Funds held pursuant to

               the Escrow Agreement (capitalized terms defined below) such that the Escrow

               Funds held by Socorro pursuant to the Escrow Agreement should be turned over

               and delivered to the Trustee.

       2.      Jurisdiction.




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              A.      The Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §

              1334. This is a core proceeding under 28 U.S.C. § 157(b)(2)(A, B, L, O). The

              Parties consent to the entry of final orders by this Court in this proceeding.

       3.     Motions. List all pending motions.

              A.      Diane G. Reed, Chapter 7 Trustee’s Motion For Summary and Default

              Judgment filed September 18, 2019 [DKT #57].

              B.      Torch Energy Finance Fund Limited Partnership I’s Response in

              Opposition to Diane G. Reed, Chapter 7 Trustee’s Motion For Summary and

              Default Judgment filed October 9, 2019 [DKT #58].

       4.     Contentions of Parties.       Plaintiff, Berry, and CSLC have stipulated to the

following which they contend disposes of this case:

              A.      CSLC is barred and forever discharged pursuant to applicable law, this

              Court’s Bar Date Order, and the express terms of the Berry Plan and Confirmation

              Order from asserting any claim against or receiving any payment from Berry in

              respect of the Berry CSLC Claim, the CSLC Scheduled Claim, and from any

              liabilities related to the CSLC RILP Claim. For the avoidance of doubt, this bar

              and discharge in favor of Berry with respect to the Berry CSLC Claim, the CSLC

              Scheduled Claim, and the CSLC RILP Claim includes any and all claims or causes

              of action relating to or arising out of the facts and circumstances related to the 1995

              Transfer, the Rincon Island Leases, liability for the abandonment and removal, if

              required, of Rincon Island (PRC 1466), the connecting causeway (PRC 1961) and

              the Pier (PRC 5868) (each as further described in Plaintiff’s Complaint). Berry

              further has no liability to CSLC in respect of the Berry CSLC Claim, the CSLC

              Scheduled Claim or the CSLC RILP Claim, as the Berry CSLC Claim, the CSLC

              Scheduled Claim, and any potential liabilities related to the CSLC RILP Claim,
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               have been disallowed and expunged against Berry in their entirety. CSLC further

               stipulates to the release of and hereby does release and discharge the Limited

               Guaranty, and also TOC, TEF, and TEFC from any obligations under the Limited

               Guaranty.

               B.     As a result of the discharge of the obligations of Berry to CSLC pursuant

               to applicable law, this Court’s Bar Date Order, and the express terms of the Berry

               Plan and Confirmation Order, no basis exists under which Berry could

               conceivably make a claim against TOC, TEF, and TEFC.                 Berry therefore

               stipulates to the release of and hereby does release and discharge the Guaranty,

               and also TOC, TEF, and TEFC from any obligations under the Guaranty.

               C.     As a result of Berry’s release of the Guaranty and CSLC’s release of the

               Limited Guaranty, no basis exists under which TOC, TEF, or TEFC could

               conceivably make a claim for the Escrow Funds held pursuant to the Escrow

               Agreement. Furthermore, the conditions or events in the Escrow Agreement

               which could conceivably trigger release of the Escrow Funds to TOC, TEF, or

               TEFC cannot and will not occur.          The Escrow Funds therefore should be

               delivered to Diane G. Reed, Chapter 7 Bankruptcy Trustee for Rincon Island

               Limited Partnership as contemplated in section 3.1 and 3.2(b) of the Escrow

               Agreement.

TEF contends that these stipulations are not sufficient to trigger release of the Escrow Funds

disposing of this case. TEF instead contends that the following release language from CSLC is

needed to trigger release of the Escrow Funds and dispose of this case:

                      1. “Release. CSLC, for itself and on behalf of any respective agents,

                           related entities, commissioners, representatives, staff, administrators,

                           beneficiaries, trustees, directors, officers, managers, members,
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              employees, advisors, successors, predecessors, insurers, and assigns (if

              any), and any and all persons or entities acting by, through, under or in

              concert with any of them, past, present and future each hereby fully

              and forever irrevocably and unconditionally release, acquit, discharge

              and covenant not to sue Torch Operating Company, Torch Energy

              Finance Company, Torch Finance Fund Limited Partnership

              (collectively “Torch”), and each of Torch and its parent, subsidiaries,

              affiliated entities, divisions, predecessors, successors and assigns, and

              all of their respective past, present and future agents, servants,

              representatives, employees, officers, directors, shareholders,

              members, managers, attorneys, insurers, executors, heirs, beneficiaries,

              administrators, and any and all persons acting by, through, under or in

              concert with any of them and each of them (collectively, the “Torch

              Released Parties”), from any and all claims, rights, liabilities, fines,

              penalties, obligations, demands, debts, costs, actions, causes of

              actions, suits, damages, expenses, rents, royalties, attorney fees, and

              compensation of every kind and nature whatsoever, whether arising in

              contract or tort, including without limitation any relating to fraud,

              including without limitation fraud in the inducement, that any of them

              ever had, or now have, whether known or unknown, whether asserted

              or unasserted, contingent or absolute, anticipated or unanticipated that

              CSLC has had, now has, or may in the future have against the Torch

              Released Parties relating to that certain Amendment to State Oil and

              Gas Leases PRC 145.1, PRC 410.1, PRC 429.1 and PRC 1466.1 and


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                           Right of Way Leases PRC 1961.1 and PRC 5968 Berry Rincon Field

                           effective November 1, 1995 as such leases may have been amended.

                        2. Specific Waiver of Unknown Claims. In furtherance of the releases set

                           forth above, CSLC acknowledges and waives the benefits of California

                           Civil Code Section 1542 (and all similar ordinances and statutory,

                           regulatory, or judicially created laws or rules of any other jurisdiction),

                           which provides:

                           A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS

                           WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO

                           EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING

                           THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST

                           HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT

                           WITH THE DEBTOR.”

       5.      Admissions of Fact. Facts which have been stipulated or otherwise require no

proof are as follows:


       A.      Rincon Island Limited Partnership (“RILP) is a limited partnership formed by

               Windsor Energy U.S. Corporation (“Windsor”), as general partner, and TEF as

               limited partner, for the purpose of purchasing certain oil and gas leases located in

               California and commonly known as “Rincon Island.” The leases covered offshore

               areas owned by the State of California as originally developed by the predecessors

               to the Atlantic Richfield Company (see Exhibit A) (the “Rincon Island Leases”).

               The Rincon Island Leases were sold in January 1992, by Atlantic Richfield

               Company to Berry which transfer was approved by CSLC. In 1995, Berry sold

               the Rincon Island Leases to RILP which transfer was approved by CSLC with the

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     condition that Berry “will remain jointly and severally liable for the abandonment

     and removal, if required, of Rincon Island (PRC 1466), the connecting causeway

     (PRC 1961) and the Pier (PRC 5868) . . . .”         (see Exhibit B) (the “1995

     Transfer”).

B.   As part of the 1995 Transfer from Berry, TOC executed a Guaranty dated

     November 1, 1995 for the benefit of Berry in an amount up to $1 million to secure

     any claims made by CSLC against Berry arising from the failure of RILP to meet

     the obligations it assumed (see Exhibit C) (the “Guaranty”). TOC also executed a

     second Limited Guaranty dated November 1, 1995 (see Exhibit R) (the “Limited

     Guaranty”) to CSLC in an amount up to $400,000.00 guaranteeing performance

     by RILP of the obligations it assumed. At the same time Windsor (predecessor in

     interest of RILP), TEF and TOC entered into an escrow agreement dated October

     23, 1995, whereby Windsor deposited funds with Texas Commerce Bank as

     escrow agent (predecessor in interest of Socorro) to be paid to TOC in the event

     TOC was required to pay on its Guaranty to Berry (see Exhibit D). The original

     escrow agreement was amended on November 12, 1996 (see Exhibit E) (as

     amended the “Escrow Agreement”).

C.   As of October 28, 2002, Windsor assigned all its right, title, and interest in the

     funds held in escrow to RILP (see Exhibit G).

D.   Socorro subsequently replaced Texas Commerce Bank as escrow agent under the

     Escrow Agreement and currently acts in that capacity (see Exhibit F). The current

     balance of funds in the escrow account held by Socorro is approximately $1

     million (the “Escrow Funds”).

E.   On May 11, 2016, Berry filed a voluntary petition for relief under Chapter 11 in

     the above styled and jointly administered bankruptcy case. In its Schedules of
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     Assets and Liabilities filed July 11, 2016, Berry listed the claim of the CSLC,

     which scheduled claim included any and all potential liability of Berry with

     respect to or arising out of, the 1995 Transfer, the Rincon Island Leases, liability

     for the abandonment and removal, if required, of Rincon Island (PRC 1466), the

     connecting causeway (PRC 1961) and the Pier (PRC 5868) (each as further

     described in Plaintiff’s Complaint), as a contingent, unliquidated, and disputed

     claim (Docket number 552, Schedule E/F Part 2, p. 50/51.) (the “CSLC Scheduled

     Claim”).    Berry’s noticing and claims agent, Prime Clerk, referred to the

     scheduled contingent, unliquidated, and disputed claim of CSLC as “Schedule #

     399757" in its publicly available records. On August 4, 2016, this Court entered

     in the Berry bankruptcy proceeding an order (the “Bar Date Order”; Docket

     number 756) setting a deadline of November 7, 2016 for governmental units, such

     as CSLC, to file proofs of claim, which further stated that any holder of a claim

     that fails to timely file a proof of claim “shall be barred from asserting such

     claims against the Debtors and precluded from . . . receiving distributions from

     the Debtors on account of such claims in these chapter 11 cases.”

F.   A Bar Date Notice and a proof of claim form was timely served on CSLC by

     Berry, or its agent, by First Class Mail on or about August 11, 2016. CSLC was

     further served with additional notices regarding the pending Berry bankruptcy and

     related filings with the Court.

G.   On January 27, 2017, this Court entered in the Berry bankruptcy proceeding its

     Order Confirming (I) Amended Joint Chapter 11 Plan of Reorganization of Linn

     Energy, LLC and its Debtor Affiliates Other Than Linn Acquisition Company,

     LLC and Berry Petroleum Company, LLC and (II) Amended Joint Chapter 11

     Plan of Reorganization of Linn Acquisition Company, LLC and Berry Petroleum
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     Company, LLC (the “Confirmation Order”; Docket number 1629 in the Berry

     bankruptcy proceeding and Exhibit S). This Confirmation Order confirmed the

     plan of reorganization of Berry (the “Berry Plan”) which was attached as “exhibit

     B” to the confirmation order starting at page 206 (See Exhibit S).

H.   The Berry Plan expressly disallowed all claims filed by governmental units after

     November 7, 2016—the deadline set out in the Bar Date Order.

I.   The Berry Plan further provided that no proofs of claim could be filed or amended

     after the “Effective Date” of the Berry Plan without prior authorization by this

     Court or the Reorganized Berry Debtors: “On or after the Effective Date, a Proof

     of Claim or Interest may not be Filed or amended without the prior authorization

     of the Bankruptcy Court or the Reorganized Berry Debtors, and any such new or

     amended Proof of Claim or Interest Filed that is not so authorized before it is

     Filed shall be deemed disallowed in full and expunged without any further

     action.” (see Exhibit S, Berry Plan, Art. Id., Art. VII.I (p. 48), page 254 of the

     Confirmation Order).

J.   The Berry Plan additionally provided for the discharge of claims against Berry as

     follows:   “[E]xcept as otherwise specifically provided in the Plan or in any

     contract, instrument, or other agreement or document created pursuant to the Plan,

     the distributions, rights, and treatment that are provided in the Plan shall be in

     complete satisfaction, discharge, and release . . . of Claims . . . and Causes of

     Action of any nature whatsoever . . . against . . . The Berry Debtors or any of their

     assets . . ., including demands, liabilities, and Causes of Action that arose before

     the Effective Date . . . whether or not . . . a Proof of Claim based upon such debt

     or right is Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code

     [or] (2) a Claim or Interest based on such debt, right, or Interest is Allowed
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      pursuant to section 502 of the Bankruptcy Code . . . . The Confirmation Order

      shall be a judicial determination of the discharge of all Claims and Interests

      subject to the Effective Date occurring.” (see Exhibit S, Berry Plan, Art. VIII.B

      (p. 49), page 255-256 of the Confirmation Order).

K.    The Berry Plan further enjoined all “Entities that have held, hold, or may hold

      claims or interests. . .” from taking any action against Berry or its assets (Art.

      VIII.G, p. 50-51, Berry Plan, page 257-258 of the Confirmation Order). The

      Berry Plan defines Claim (See Exhibit S, page 216) and Entity (See Exhibit S,

      page 217) as those terms are defined in Section 101 of the Bankruptcy Code. The

      term “Claim” is defined in pertinent part as a “right to payment, whether or not

      such right is reduced to judgment, liquidated, unliquidated, fixed, contingent,

      matured, unmatured, disputed, undisputed, secured or unsecured.” 11 U.S.C. §

      101(5).   This definition includes but is not limited to the CSLC Scheduled Claim

      and the Berry CSLC Claim (defined below). The term “Entity” is defined in

      pertinent part to include a “person, estate, trust, governmental unit, and United

      States trustee.” 11 U.S.C. § 101(15). This definition includes CSLC. (see Exhibit

      S, Berry Plan, page 216-217 of the Confirmation Order).

L.    The Berry Plan became effective on February 28, 2017. See Notice of Occurrence

      of the Effective Date (Dkt. No. 1767 in the Berry Bankruptcy and Exhibit T).

M.    Thereafter on March 20, 2017, CSLC filed its proof of claim for the CLSC

      Scheduled Claim in the Berry bankruptcy proceeding asserting a claim of

      $50,000,000.00, and also asserting that Berry and others were “formerly parties to

      certain leases in which the Claimant is the lessor, including State Oil and Gas

      Lease No. PRC 1466.1 (“Lease No. PRC 1466.1"). Prior operators, of which

      include the Debtor(s), retain residual abandonment liability for the island and
                                                                                   10
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      causeway of PRC 1466.1 . . .” (see Exhibit I) (the “Berry CSLC Claim”). Around

      the same time on April 28, 2017, Atlantic Richfield Company and CSLC entered

      into a Settlement Agreement and Mutual Releases regarding claims of CSLC for

      “residual abandonment liability for the island and causeway of PRC 1466.1" (See

      Exhibit J). Later in July, 2017, CSLC made demand on AIG as surety on the

      operators bond provided by RILP to CSLC for the failures of RILP to perform

      obligations under the RILP Leases (See Exhibit K).

N.    On or about August 8, 2016, RILP filed its voluntary petition for relief under

      Chapter 11 in Case No. 16-33174 in the U.S. Bankruptcy Court, Northern District

      of Texas. Thereafter, Jason R. Searcy was appointed as Chapter 11 Trustee, the

      case was converted to a case under Chapter 7, and Jason R. Searcy was re-

      appointed as Chapter 7 Trustee. Diane G. Reed is now the successor chapter 7

      Trustee for RILP appointed after the untimely death of Jason R. Searcy.

O.    On December 7, 2016, CSLC filed its proof of claim in the RILP bankruptcy

      proceeding, docketed as proof of claim 10 (see Exhibit H), asserting a claim for

      $55,000,000.00 for “Abandonment liability of improvements on Creditor’s

      property. Creditor’s claim includes estimated abandonment liability for leases

      PRC 1466, PRC 145, and PRC 410.” This claim includes the Berry retained

      obligation for “abandonment and removal, if required, of Rincon Island (PRC

      1466), the connecting causeway (PRC 1961) and the Pier (PRC 5868)”. The

      forgoing is collectively referred to as the “CSLC RILP Claim.”

P.    On October 13, 2017, Berry filed its Objection to Proof of Claim Number 7985

      Filed by California State Lands Commission Against Berry Petroleum Company,

      LLC (Docket number 2427 in the Berry bankruptcy proceeding). On October 25,

      2017, Berry and CSLC filed an Agreed Motion for Entry of Order Withdrawing
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      Proof of Claim Number 7985 Filed by California State Lands Commission

      Against Berry Petroleum Company, LLC (Docket number 2471 in the Berry

      bankruptcy proceeding), and on November 16, 2017, this Court entered its Order

      Granting Agreed Motion for Entry of Order Withdrawing Proof of Claim Number

      7985 Filed by California State Lands Commission Against Berry Petroleum

      Company, LLC (Docket number 2513 in the Berry Bankruptcy Proceeding), and

      in such order this Court expressly retained jurisdiction to resolve disputes

      pertaining to such order.

Q.    On December 4, 2017, the court in the RILP bankruptcy proceeding entered its

      Order Granting in Part Motion for Order Approving Agreement for Chapter 11

      Trustee to Convey Debtors’ Leasehold Interests by Quitclaim Deed granting

      approval for the Trustee to convey the offshore lease covering Rincon Island to

      CSLC (see Exhibit L). On December 11, 2017, the court in the RILP bankruptcy

      proceeding entered its Order Granting Motion for Order Approving Agreement

      for Chapter 11 Trustee to Convey Debtors’ Leasehold Interests by Quitclaim

      Deed with Respect to Shoreside Leases granting approval for the Trustee to

      convey the onshore leases related to Rincon Island to CSLC (see Exhibit M). On

      or about December 12, 2017, the Trustee executed Lease Quitclaim Deeds

      conveying the pertinent Rincon Island oil and gas leases from RILP to CSLC (see

      Exhibits N and O).

R.    On March 12, 2018, Jason R. Searcy, Trustee made demand on Defendants for

      release and delivery of the Escrow Funds (see Exhibit P).

S.    The Escrow Funds have not been released by Socorro.

T.    Plaintiff filed the above styled and numbered Adversary on August 1, 2018.

U.    Defendant (and Cross-Plaintiff), Berry timely filed its Answer to Complaint and
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      Cross-Claim (Dkt. No. 23).

V.    Defendant (and Cross-Defendant), CSLC timely filed its Answer to Complaint

      (Dkt. No. 21).      CSLC also filed its Motion to Dismiss Cross-Claim of

      Reorganized Berry Petroleum Company, LLC (Dkt. No. 31) which was denied by

      the Court for the reasons stated on the record and as set forth in that certain Order

      (Dkt. No. 41).

W.    Defendant, Socorro filed its Motion to Dismiss Complaint under Fed. R. Civ. P.

      12(b)(6) (Dkt. No. 17) which was resolved by the Court as set forth more fully in

      that certain Order Granting Dismissal as to Socorro Capital, LLC (Dkt. No. 18)

      (the “Socorro Order”) which dismissed Socorro from further participation in the

      above-captioned adversary proceeding while simultaneously requiring Socorro to

      “comply with final orders or the judgment of this Court relating to such

      complaint.”

X.    Defendant, Torch Finance Fund Limited Partnership filed its Original Answer and

      Affirmative Defenses to Plaintiff’s Complaint (Dkt. No. 29).

Y.    Defendant, Torch Operating Company was properly served with summons by

      waiver of formal service pursuant to Federal Rule of Civil Procedure 4(d) through

      its representative, Roland E. Sledge, 1300 Main, Ste. 1520, Houston, Texas

      77002. TOC has failed to timely answer or otherwise respond, and Plaintiff has

      filed its Request for Entry of Clerk's Default (Dkt. No. 26).

Z.    Defendant, Torch Energy Finance Company ("TEFC") was properly served with

      summons herein by waiver of formal service pursuant to Federal Rule of Civil

      Procedure 4(d) through its representative, Roland E. Sledge, 1300 Main, Ste.

      1520, Houston, Texas 77002. TEFC has failed to timely answer or otherwise

      respond, and Plaintiff has filed its Request for Entry of Clerk's Default (Dkt. No.
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                27).

        6.      Contested Issues of Fact. List all facts in controversy that are necessary to the

final disposition of this case.

                A.      Should Escrow Funds be released to Trustee? (contested only by TEF)

        7.      Agreed Applicable Propositions of Law.

                A.      CSLC is barred and forever discharged pursuant to applicable law, this

                Court’s Bar Date Order, and the express terms of the Berry Plan and Confirmation

                Order from asserting any claim against or receiving any payment from Berry in

                respect of the Berry CSLC Claim, the CSLC Scheduled Claim, and from any

                liabilities related to the CSLC RILP Claim. For the avoidance of doubt, this bar

                and discharge in favor of Berry with respect to the Berry CSLC Claim, the CSLC

                Scheduled Claim, and the CSLC RILP Claim includes any and all claims or causes

                of action relating to or arising out of the facts and circumstances related to the 1995

                Transfer, the Rincon Island Leases, liability for the abandonment and removal, if

                required, of Rincon Island (PRC 1466), the connecting causeway (PRC 1961) and

                the Pier (PRC 5868) (each as further described in Plaintiff’s Complaint). Berry

                further has no liability to CSLC in respect of the Berry CSLC Claim, the CSLC

                Scheduled Claim or the CSLC RILP Claim, as the Berry CSLC Claim, the CSLC

                Scheduled Claim, and any potential liabilities related to the CSLC RILP Claim,

                have been disallowed and expunged against Berry in their entirety.

                B.      CSLC has stipulated to the release of and does release and discharge the

                Limited Guaranty, and also TOC, TEF, and TEFC from any obligations under the

                Limited Guaranty.

                C.      As a result of the discharge of the obligations of Berry to CSLC pursuant

                to applicable law, this Court’s Bar Date Order, and the express terms of the Berry
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      Plan and Confirmation Order, no basis exists under which Berry could

      conceivably make a claim against TOC, TEF, and TEFC. Berry therefore has

      stipulated to the release of and does release and discharge the Guaranty, and also

      TOC, TEF, and TEFC from any obligations under the Guaranty.

      D.        (Agreed by Trustee, CSLC, and Berry; not by TEF) As a result of Berry’s

      release of the Guaranty and CSLC’s release of the Limited Guaranty, no basis

      exists under which TOC, TEF, or TEFC could conceivably make a claim for the

      Escrow Funds held pursuant to the Escrow Agreement.              Furthermore, the

      conditions or events in the Escrow Agreement which could conceivably trigger

      release of the Escrow Funds to TOC, TEF, or TEFC cannot and will not occur.

      The Escrow Funds therefore should be delivered to Diane G. Reed, Chapter 7

      Bankruptcy Trustee for Rincon Island Limited Partnership as contemplated in

      section

      E.        This action seeks declaratory judgment relief against the Defendants

      pursuant to 28 U.S.C. § 2201 and §2202; Rule 57, Federal Rules of Civil

      Procedure; and Rule 7001, Fed. R. Bankr. Proc.

8.    Contested Issue of Law.

      A.        Which section of the escrow agreement controls release of Escrow Funds

      to Trustee? (contested only by TEF)

                i.     TEF contends that Section 3.1 of the Original Escrow Agreement

                (Exhibit D) when read together with the Amendment to the Escrow

                Agreement (Exhibit E) governs release of the Escrow Funds. TEF further

                contends that both TOC and TEF must be satisfied that any liability they

                have now or in the future have been fully and finally released. The first


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             sentence of Section 3.1 of the Original Escrow Agreement reads as

             follows:

             “3.1 Duration of Escrow. Escrow Agent, unless otherwise instructed by
             joint written instructions from Torch and TOC, shall deliver the Escrow
             Funds in accordance with section 3.2 below and hold any remaining
             Escrow Funds until the date (“Termination Date”) upon which Escrow
             Agent receives written notice from Torch and TOC that the Work has been
             completed in accordance with the Purchase Contract, the Partnership
             Agreement, the Operating Agreement and all applicable laws and that
             neither Buyer, Torch nor TOC has any accrued or contingent liability for
             any Costs.”

             ii.    Trustee contends that Sections 3.1 and 3.2 of the Amendment to

             Escrow Agreement (Exhibit E) govern release of the escrow funds and

             state as follows:

             “3.1 Duration of Escrow. Escrow Agent, unless otherwise instructed by
             joint written instructions from Torch [TEF] and TOC, shall deliver the
             Escrow Funds in accordance with section 3.2 below and hold the
             remaining Escrow Funds until the date (“Termination Date”) upon which
             Escrow Agent receives written notice from Torch [TEF] and TOC that the
             TOC Seller Guaranty [Guaranty] has been released and neither Torch
             [TEF] nor TOC have any further obligations thereunder.”

             “3.2 Delivery of the Escrow Funds. Escrow Agent shall deliver the
             Escrow Funds as follows:

                    (a) If and when TOC has to make any payments under the TOC
                    Seller Guaranty, as certified by an officer of TOC to all parties
                    hereto, Escrow Agent shall deliver to TOC the amount so paid
                    within 5 Business Days of receipt of TOC’s certificate.

                    (b) Escrow Agent shall deliver the remaining Escrow Funds, if
                    any, on the Termination Date to Windsor.

                    (c) Into the registry of the court in accordance with sections 5.3
                    and 5.7 hereof.”


9.    Exhibits.

      A.     State Oil and Gas Lease Assignment dated January, 1992

      B.     State Oil and Gas Lease Assignment dated September, 1995

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      C.   Guaranty of Torch Operating Company dated November 1, 1995

      D.   Escrow Agreement dated October 23, 1995

      E.   First Amendment to Escrow Agreement dated November 12, 1996

      F.   Appointment of Successor Escrow Agent dated April 27, 2015

      G.   Assignment from Windsor to Rincon Island Limited Partnership dated

           October 28, 2002

      H.   Proof of Claim 10 in the Rincon Island Limited Partnership bankruptcy
           case filed by the California State Lands Commission and dated December
           7, 2016

      I.   Proof of Claim filed by the California State Lands Commission and dated

           March 17, 2017 in the Berry Petroleum Company, LLC bankruptcy case

      J.   Settlement Agreement and Mutual Releases dated April 28, 2017

      K.   Notice of Tender letter dated July 24, 2017

      L.   Order Granting in Part Motion for Order Approving Agreement for
           Chapter 11 Trustee to Convey Debtors’ Leasehold Interests by Quitclaim
           Deed signed December 4, 2017 entered in the Rincon Island Limited
           Partnership bankruptcy case

      M.   Order Granting in Part Motion for Order Approving Agreement for
           Chapter 11 Trustee to Convey Debtors’ Leasehold Interests by Quitclaim
           Deed With Respect to Shoreside Leases signed December 11, 2017 entered
           in the Rincon Island Limited Partnership bankruptcy case

      N.   Lease Quitclaim Deed signed December 12, 2017

      O.   Lease Quitclaim Deed signed December 12, 2017

      P.   Demand Letter dated March 12, 2018

      Q.   Stipulation between Plaintiff Diane G. Reed, Trustee, Defendant (and
           Cross-Plaintiff) Berry Petroleum Company, LLC, and Defendant (and
           Cross-Defendant) California State Lands Commission

      R.   Limited Guaranty of Torch Operating Company dated November 1, 1995

      S.   Order Confirming (I) Amended Joint Chapter 11 Plan Of Reorganization
           Of Linn Energy, LLC And Its Debtor Affiliates Other Than Linn
           Acquisition Company, LLC And Berry Petroleum Company, LLC And (II)
                                                                              17
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             Amended Joint Chapter 11 Plan Of Reorganization Of Linn Acquisition
             Company, LLC And Berry Petroleum Company, LLC (Docket No 1629)
             entered in the Berry Bankruptcy.

      T.     Notice of Effective Date of Berry Plan


10.   Witnesses.

      A.     Trustee
             i.      Diane G. Reed
             ii.     Any witnesses designated or called by any other party.
      B.     CSLC
             i.      Any witnesses designated or called by any other party.
      C.     Berry
             i.      Any witnesses designated or called by any other party.
      D.     TEF
             i.      Any witnesses designated or called by any other party.

11.   Settlement.

      A.     CSLC, Berry, and Trustee have disposed of all issues necessary to resolve

      this case as set forth more fully in Exhibit Q, the Stipulation between Plaintiff

      Diane G. Reed, Trustee, Defendant (and Cross-Plaintiff) Berry Petroleum

      Company, LLC, and Defendant (and Cross-Defendant) California State Lands

      Commission.

      B.     Trustee has engaged in settlement discussions with counsel for TEF in an

      effort to obtain their consent to the agreement reached between CSLC, Berry, and

      Trustee. To date those discussions have been unsuccessful.

      C.     No mediation was conducted in this case because an agreement in

      principal was reached between Trustee, Berry, and CSLC, while TEF was in the

      process of engaging new counsel. See Status Report filed July 18, 2019 [Dkt. 54].

      Trustee has since engaged in settlement discussions with new counsel for TEF. It

      is TEF’s position that Trustee has refused to mediate the outstanding issues with



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               TEF and that TEF remains ready and willing to engage in mediation as

               contemplated by the Scheduling Order [Dkt. 51].

       12.     Estimated Trial Time.

               A.      All parties view remaining issues as being primarily legal argument

               pertaining to the breadth of the stipulated releases. TEF believes an hour of legal

               argument is sufficient. Trustee does not disagree with a one hour time estimate

               for legal argument.

               B.      If this case is not disposed of on summary judgment, then it is estimated a

               trial hearing should not exceed approximately 4 to 8 hours.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, Berry, CSLC, and TEF make this

their Joint Pretrial Statement.

DATED: October 21, 2019.

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                 And

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